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                                    of Service    Pg 1 of 1


                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that, on this 8th day of September 2014, I caused a true

and correct copy of the foregoing Notice of Appearance and Request for Service of Papers to be

served electronically upon all counsels of record using the Court’s CM/ECF system.



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